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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE:                                         :
           Priscilla Stuart                      :       Chapter 13
                                                 :
           Debtor                                :       Case No.: 17-14905AMC


                                   CERTIFICATE OF SERVICE

           I Brad J. Sadek, Esq. certify that on the date indicated below served a true and
  correct copy of the Debtor’s Expedited Motion Approve Personal Injury Settlement was
  made by electronic or Regular US Mail on all interested creditors and the following
  parties:

                                      William C. Miller, Esq.
                                        Chapter 13 Trustee
                                      (Via Electronic Service)

                                       United States Trustee
                                      (Via Electronic Service)

                                       Kevin Malloy, Esq.
                                     km@disandromalloy.com




  Dated: June 3, 2019                                            /s/Brad J. Sadek, Esq
                                                                 Brad J. Sadek, Esq.
                                                                 Attorney for Debtor
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